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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

DAVID GRAHAM GOODMAN, )
Plaintiff,
v. Civil Action No. 1:13-cv-540 (RDA/IDD)
KENNETH W. STOLLE, et al.,
Defendants.
ORDER

This matter comes before the Court on the parties’ Joint Status Report. Dkt. 224. The
parties state that they completed the execution of a settlement agreement on March 29, 2022, and
ask for an additional four weeks to submit their stipulation of dismissal based on the
Commonwealth of Virginia’s request for a settlement draft.

The Court finds good cause to continue the stay in this matter for an additional four-week
period. Should the parties fail to submit a stipulation of dismissal by May 6, 2022, the stay will
be lifted and the Court will reset this matter for a jury trial.

Itis SO ORDERED.

  

Alexandria, Virginia | |

April 4 , 2022 i
= /s/ Ve
Ossie D, Alston, Jt.

United States District Judge
